    Case 2:14-cr-00168-LMA-KWR Document 906 Filed 11/23/20 Page 1 of 11




               !N THE UNITED STATES DISTRICT CO
                                                                    .s. DISTRICT COURT
              FOR THE EASTERN DISTRICT OF LOU                         DISTRlCT OF LOUISIANA



                                                                               L1 "2+2F

                                                                  CAROL L. MICHEL
                                                                      CLERK


TANCE SINGLETON,                (               CASE NUMBER:
 IMoVANT-DEFENDANTI             )               DocKEr#:   tr{-tafi T(q )
      'i*,rvERsus**{'               )


THE UNITED STATES OF AMERICA, (
                                                    *CLERK OF COURT*
     IPTATNTTFF-RESPONDENTI                 )


  PETITIONER,S PRO SE MOTION TO CORRECT AN IILEGAI SENTENCE
  PURSUANT TO FEDERAL RULES OF CRIMINAL PROCEDURES 35. (a)



MAY IT PTEASE THIS HONORABTE COURT:

       Comes now, the Movant-Defendant, Lance Singleton, whom at
this time respectfully moves this Honorable Court to review and/or
correct the said sentence of the Petitioner Lance Singleton, so that
such illegal sentence will not violate his substantial and Constitutional
Rights.


      Wherefore, the gist, contentions and gravamen of this proceeding
are as follows:

                                                               TENDERED FOR FILING
                                                                                                    v
                                                                     N()\,     23 2020
                                                                 U.S. DISTRICT i]0URT
                                        1                       Eartern    [Jts,rr:61 r)r   ;...;uisiana
                                                                          D€ilr;ti,{.':isft
    Case 2:14-cr-00168-LMA-KWR Document 906 Filed 11/23/20 Page 2 of 11




                     J   URISDICTIONAT STATEM ENT



The Movant, Lance Singleton, hereby avers that pursuant to Rule 35 (a)
of the United States Criminal Code of Rules, the Court stated:

                         CORRECTION OF SENTENCE


       "(a)           Correction of Sentence. The Court may correct an
     illegal sentence at any time and may correct a sentence imposed
         in an illegal manner within the time provided herein for the
                             reduction of sentence."

           Therefore, the sentencing of the Movant-Defendant is
     virtually incorrect and duly need to be corrected.

          For the reason's herein stated, your Movant-Defendant,
     Lance Singleton will herein present to this Honorable Court
     where and why his sentence is incorrect and needs to be
     corrected. The facts of the matter are as follows:




                         CIAIM, RATIONALE, AND ARGUMENT


           The Movant, Lance Singleton, a 29-year-old Defendant who
     was in the wrong place, with the wrong people, with the wrong
     intentions, whom was arrested and/or convicted for the charged
     offenses...


                                    2
    Case 2:14-cr-00168-LMA-KWR Document 906 Filed 11/23/20 Page 3 of 11




Count-l    Cons piracy to distribute and/or   to possess with intent to
distribute (1) kilogram or more of heroin and/ or 280 grams or more of
cocaine base.


Count-2     Conspiracy to possess firearms in furtherance of a drug
trafficking crime.


Count-3    Possession with intent to distribute a quantity of cocaine
base on or about January 5, 20L2.


Count4      Possession of a Glock Semi-automatic pistol on January 5,
2OL2, in furtherance of the drug trafficking crime charged in Count 3. ln
violation of 18 U.S.C. g 924 (C).


The sentencing Court during sentencing the Defendant went on to say:


"singleton's presentence investigation report groups Counts 1,2 and       3
together and calculates the base offense level as 32." ETC...
    The Court mistakenly erred in calculating U.S. S 2K2.4 (b), the
Movant acknowledge that it was an unintentional mistake.


     However, if the Court will now so review U.S.S. I 2K2.4...
meticulously the court will acknowledge the unintentional mistake that
was made and such mistake hamper's the sentencing and the
Constitutional and Substantial Rights of your Movant. Pursuant to S
2K2.4. (b) in relation to g 924 (c) on Coun(s L,2, and 3, of a four (4)
Count indictment with a level 31 sentence (135 to 158 months) is
inaccurate...
                                    3
    Case 2:14-cr-00168-LMA-KWR Document 906 Filed 11/23/20 Page 4 of 11




       ln the case of the Movant-Defendant there was an objection to
the firearm enhancement. See Puckett v. United States. 555 U.S. 125
(sth Cir. 20091, the said objection should have been preserved, for (plain
error review).


      However, the two-level enhancement pursuant to S 2D1.1 (b) (1)
of the sentencing guidelines is i!!egal, in its best. Matter of fact it
causes; "(lnappropriate Double Punishment)" in which your Movant is
presently undergoing from the sentence he is serving.


     Hence, the sentence of your Movant-Defendant does
impermissibly punishes him... (your Movant Mr. Lance Singleton)...
Twice, for the very same conduct, whereas, if it is levied in conjunction
with a sentence for the violation of 18 U.S.C. 5 924 (c). See U.S. v.
Benbrook. 119 F.3d. 338, 339 (sth Cir 1997); United States v. Olano.
507 U.S. 725-734-36 (1993). The Sentencing Guidelines Manual
specifically states that the weapon enhancement should not applv, i.€.,
for the underlying offense, for examples, if (A) a Co-defendant as part
of the joint undertaken criminal activity, possessed a firearm different
from the one for which the Defendant was convicted under 18 U.S.C. Si
924 (C). U.S. Sentencing Guideline Manual g 2K2.4 CMT. N.4. It is
factual with evidence that the District Court clearly erred in applying a
two-level enhancement to the Movant-Defendant, and/or his offense.


      Factually, when a Defendant (as your Movant), is sentenced under
Section (5) 924 (c), however, the sentencing guidelines expressly
prohibit application of the Sections zDL.t (D) (l)-two -level increase,
as the level enhancement under those circumstances would result in an
impermissible double counting as it has done herein... of the firearm

                                    4
    Case 2:14-cr-00168-LMA-KWR Document 906 Filed 11/23/20 Page 5 of 11




offense-once under Section (5) 924 (c) and again under Section (5)
zdt.t (b) (1).


      Consequently, at the time of the original sentencing of your
Movant, under Section'(s) 92a (c), the two-level enhancement of
Section(s) 2D1.1 (b) (U is not available. See U.S.S.G. Section'(s) 2K2.4
commentary background (1995). See Puckett v. U.S. (No: O7-97L21
(March 25,2OO91.


       Moreover, rule 52 (b) held that the plain error test applies to a
forfeited claim, like Puckett's that the government failed to meet its
obligation under a plea agreement and applies in the usual fashion.
[pp- -14] ... See also, U.S. v. Olano 507 U.S.725,732-33; (2) it must be
clear or obvious, see id., at 764 (3l-it must have affected the outcome
of the District Court proceedings lbid; ...




      However, the Government breached the plea of agreement does
not retroactivity cause the Defendant's guilty plea to have been
unknowing or involuntary, Santobello v. New York, 404 U.S. 257
(1971). ln this matter pursuant to 28 U.S.C. I 2255, the Petitioner could
raise a claim of lneffective Assistance of Counsel, but (he did not) ... The
thing that mattered the most is, the Court needs to correct the
sentence of the Petitioner.


     Hence, the sentencing error does affect his substantial and/or
Constitutional along with his personal rights and ultimately, his
sentence. Your Petitioner, lance Singleton is entitled to relief because


                                     5
    Case 2:14-cr-00168-LMA-KWR Document 906 Filed 11/23/20 Page 6 of 11




he and every other Defendant who may make an agreement with the
Government are entitled to take the Government at its word.


      Now Lastly, your Petitioner lastly contends that he is entitled to
having the Court to review his sentence and/or correct the sentence
that does duly affects your Petitioner. lt must be remembered; Rule 35.
(a) where the court may correct a sentence that resulted from
arithmetical technical or other clear error... but it is to be corrected by
this Honorable Court.


     Moreover, and Explicitly, "Rule 35 (a) Specifically States":


   "The Court may correct an illegal sentence at any time and may
   correct a sentence imposed in an illegal manner within the time
            provided herein for the reduction of sentence."


       The herein Petitioner has herein demonstrated that the court
made an honest mistake in sentencing him, pursuant to 18 U.S.C. S 924
(c), i.e., during sentencing along with other offenses the error gravely
affected the Substantial and Constitutional gist of your Petitioners
sentence. Background wise, Section 8aa (n) of Title 18 United States
Code, duly provides a mandatory term of imprisonment Section 92 @l
and 929 (a) of Title 18, U.S.C. provides mandatory minimum terms of
imprisonment. A sentence imposed pursuant to any of these statutes
must be imposed to run consecutively to any other term of
imprisonment. To avoid double counting, when a sentence under this
Section is imposed in conjunction with a sentence for an underlying
offense, any specific offense characteristic for explosive or firearm



                                     6
    Case 2:14-cr-00168-LMA-KWR Document 906 Filed 11/23/20 Page 7 of 11




discharge, use brandishing, or possession is not applied in respect to
such underlying offense.




      Wherefore, it is for the reasons set forth herein, your Petitioner
urgently imperatively request that this Honorable Court re-review his
sentence, and correct the infirmities, and defects in which would be
involve in this matter.




                                     Respectful ly   Su bm   itted   :




                       Signed this   t   (   day of November 2020




                                 I
                                     Lance Singleton, [P        sel




                                         7
    Case 2:14-cr-00168-LMA-KWR Document 906 Filed 11/23/20 Page 8 of 11




                                coNcrusroN



     It is conclusion of your Petitioner-Defendant that an error in his
sentence exist that virtually affects the sentence of your Petitioner.


     Therefore, the Petitioner pursuant to Haines v. Kerner Supra has
submitted the entailed sense of law to correct the matter pursuant to
Federal Rules of Criminal Procedures Rule 35 (a), and duly request that
the Court herein correct his sentence so that his Constitutional and
Substantial rights will be corrected.




                                          Respectful ly   Su bm    itted :




                      Signed    thist4   day of November 2O2O




                            S
                                   Lance Singl   n,       ro Sel
                                   Reg # 33977-034
                                   Post Box 5000
                                   Federal Corrections !nstitution
                                   Yazoo City, Mississippi 39194


                                     8
    Case 2:14-cr-00168-LMA-KWR Document 906 Filed 11/23/20 Page 9 of 11




                        CERTIFICATE OF SERVICE




      l, Lance Singleton, hereby certify that I have mailed the original
and one copy to the clerk's office for the United States District Court for
                                     l9
the Eastern District of Louisiana this     day of November 2O2O by
placing same in the Postal Mail depository at the herein listed address:




                                  Lance Singleton ro Sel
                                  Reg # 33977-034
                                  Post Box 5000
                                  Yazoo City Low
                                  Yazoo City, Mississippi 39194




                                     9
Case 2:14-cr-00168-LMA-KWR Document 906 Filed 11/23/20 Page 10 of 11




                                                                                   ;
                                                            E--B<= $               2
                                                            Ets
                                                            OO     (F              o

                                                             Pr-
         =
    5-
                                                            66- oo 6o
   ,;9                                                                      ua
   D                                                                        O
   -/
    7
   P
   ?=                                                        2r
                                                             {0
                                                                    g
                                                                                   5
                                                              r^                        +
                                                         LNS
                                                         J'A                        D.)
                                                                                    ,ts)
                                                         52                         3
                                                                                    J
                                                         J                          J
                                                                                    d
                                                                                    N
                                                                                       -tr




                                     f
                          ?r
                          (ro
                                      z.
                                      r,^.
                                             2
                           o,
                          '-)
                                      7
                            (o
                            B
                            a\
                                                                            , iffil,ffi
                        J-_
                        ot                                                       jflllffi
                        6e                                             flilffi
                        o                                          1



                                                                   i
                                                                   l



                                                                       flflffi il|,ffi
Case 2:14-cr-00168-LMA-KWR Document 906 Filed 11/23/20 Page 11 of 11




                                      dp
